        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 1 of 14



                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

TURTLE ISLAND FOODS, SPC,
doing business as THE TOFURKY COMPANY                                       PLAINTIFF

      v.                     CASE NO. 4:19-CV-514-KGB

NIKHIL SOMAN, in his official capacity as
Director of the Arkansas Bureau of Standards                              DEFENDANT


   DEFENDANT’S ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT


      Comes now Defendant Nikhil Soman, in his official capacity as Director of the

Arkansas Bureau of Standards, and for his Answer to Plaintiff’s First Amended

Complaint for Declaratory and Injunctive Relief (“Amended Complaint”), states:

                                    INTRODUCTION

      1.     Defendant admits Plaintiff purports to bring this action challenging the

constitutionality of Ark. Code Ann. § 2-1-305 (“the Act”), but denies the Act is

unconstitutional or that Plaintiff or any other individual or entity has a valid claim

against Defendant. Defendant admits the Act prohibits the misbranding or

misrepresentation of agricultural products. Defendant admits the Act provides for a civil

penalty not to exceed $1,000.00 for each violation of the Act. Defendant denies the

remaining allegations in paragraph 1 of the Amended Complaint.

      2.     Defendant denies the allegations in paragraph 2 of the Amended

Complaint.




                                      Page 1 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 2 of 14



       3.      Defendant admits Plaintiff purports to seek injunctive and declaratory

relief but denies that Plaintiff is entitled to such relief. Defendant denies the remaining

allegations in paragraph 3 of the Amended Complaint.

                                JURISDICTION AND VENUE

       4.      Defendant admits Plaintiff purports to bring this claim under 42 U.S.C. §

1983. Defendant admits the Court has jurisdiction over this matter. Defendant denies the

remaining allegations in paragraph 4 of the Amended Complaint.

       5.      The allegations in paragraph 5 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 5 are denied.

       6.      Defendant admits venue is proper in this Court.

                                          PARTIES

       7.      Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 7 of the Amended Complaint and therefore denies the

allegations.

       8.      Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 8 of the Amended Complaint and therefore denies the

allegations.

       9.      Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 9 of the Amended Complaint and therefore denies the

allegations.




                                         Page 2 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 3 of 14



       10.     Defendant admits the allegations contained in the first two sentences of

paragraph 10 of the Amended Complaint. The remaining allegations in paragraph 10 do

not require a response from Defendant. To the extent a response is required, the

allegations are denied.

                                         FACTS

                              Plant- and Cell-Based Meats

       11.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 11 of the Amended Complaint and therefore denies the

allegations.

       12.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 12 of the Amended Complaint and therefore denies the

allegations.

       13.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 13 of the Amended Complaint and therefore denies the

allegations.

       14.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 14 of the Amended Complaint and therefore denies the

allegations.

       15.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 15 of the Amended Complaint and therefore denies the

allegations.




                                      Page 3 of 14
       Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 4 of 14



              Consumers Are Not Confused About Plant-Based Meats1

      16.    Defendant denies the allegations in paragraph 16 of the Amended

Complaint.

      17.    Defendant denies the allegations in paragraph 17 of the Amended

Complaint.

      18.    Defendant denies the allegations in paragraph 18 of the Amended

Complaint.

      19.    Defendant denies the allegations in paragraph 19 of the Amended

Complaint.

      20.    Defendant denies the allegations in paragraph 20 of the Amended

Complaint.

     Existing Law Already Prevents Actually Misleading or Deceptive Labeling

      21.    The allegations in paragraph 21 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 21 of the Amended Complaint are denied.

      22.    The allegations in paragraph 22 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 22 of the Amended Complaint are denied.




1 For clarity and the convenience of the Court and the parties, Defendant restates the
headings used in Plaintiff’s Amended Complaint herein but denies that Plaintiff’s
headings are accurate statements of law or fact. To the extent any heading contains an
allegation to which a response is required, Defendant denies the allegation.
                                     Page 4 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 5 of 14



       23.     The allegations in paragraph 23 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 23 of the Amended Complaint are denied.

       24.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 24 of the Amended Complaint and therefore denies the

allegations.

       25.     The allegations in paragraph 25 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 25 of the Amended Complaint are denied.

       26.     The allegations in paragraph 26 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 26 of the Amended Complaint are denied.

       27.     The allegations in paragraph 27 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 27 of the Amended Complaint are denied.

       28.     The allegations in paragraph 28 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 28 of the Amended Complaint are denied.

       29.     The allegations in paragraph 29 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 29 of the Amended Complaint are denied.



                                      Page 5 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 6 of 14



       30.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 30 of the Amended Complaint and therefore denies the

allegations.

       31.     The allegations in paragraph 31 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 31 of the Amended Complaint are denied.

       32.     The allegations in paragraph 32 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 32 of the Amended Complaint are denied.

       33.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 33 of the Amended Complaint and therefore denies the

allegations.

                                         The Act

       34.     Defendant admits the allegations in paragraph 34 of the Amended

Complaint.

       35.     Defendant states that Ark. Code Ann. § 2-1-301 speaks for itself. Defendant

denies the allegations in paragraph 35 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-301. Defendant denies any remaining

allegations in paragraph 35 of the Amended Complaint.

       36.     Defendant states that Ark. Code Ann. § 2-1-301, et seq. speaks for itself.

Defendant denies the allegations in paragraph 36 of the Amended Complaint to the




                                       Page 6 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 7 of 14



extent they misquote or mischaracterize Ark. Code Ann. § 2-1-301, et seq. Defendant

denies any remaining allegations in paragraph 36 of the Amended Complaint.

       37.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 37 of the Amended Complaint and therefore denies the

allegations.

       38.     Defendant admits the allegations in paragraph 38 of the Amended

Complaint.

       39.     Defendant states that Ark. Code Ann. § 2-1-305 speaks for itself. Defendant

denies the allegations in paragraph 39 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-305. Defendant denies any remaining

allegations in paragraph 39 of the Amended Complaint.

       40.     Defendant states that Ark. Code Ann. § 2-1-302 speaks for itself. Defendant

denies the allegations in paragraph 40 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-302. Defendant denies any remaining

allegations in paragraph 40 of the Amended Complaint.

       41.     Defendant states that Ark. Code Ann. § 2-1-302 speaks for itself. Defendant

denies the allegations in paragraph 41 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-302. Defendant denies any remaining

allegations in paragraph 41 of the Amended Complaint.

       42.     Defendant states that Ark. Code Ann. § 2-1-302 speaks for itself. Defendant

denies the allegations in paragraph 42 of the Amended Complaint to the extent they



                                       Page 7 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 8 of 14



misquote or mischaracterize Ark. Code Ann. § 2-1-302. Defendant denies any remaining

allegations in paragraph 42 of the Amended Complaint.

       43.     Defendant states that Ark. Code Ann. § 2-1-302 speaks for itself. Defendant

denies the allegations in paragraph 43 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-302. Defendant denies any remaining

allegations in paragraph 43 of the Amended Complaint.

       44.     Defendant states that Ark. Code Ann. § 2-1-306 speaks for itself. Defendant

denies the allegations in paragraph 44 of the Amended Complaint to the extent they

misquote or mischaracterize Ark. Code Ann. § 2-1-306. Defendant denies any remaining

allegations in paragraph 44 of the Amended Complaint.

                             Effect of the Act on Tofurky Co.

       45.     Defendant denies the allegations in paragraph 45 of the Amended

Complaint.

       46.     Defendant denies the allegations in paragraph 46 of the Amended

Complaint.

       47.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 47 of the Amended Complaint and therefore denies the

allegations.

       48.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 48 of the Amended Complaint and therefore denies the

allegations.




                                       Page 8 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 9 of 14



       49.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 49 of the Amended Complaint and therefore denies the

allegations.

       50.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 50 of the Amended Complaint and therefore denies the

allegations.

       51.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 51 of the Amended Complaint and therefore denies the

allegations.

       52.     Defendant denies the allegations in paragraph 52 of the Amended

Complaint.

       53.     Defendant denies the allegations in paragraph 53 of the Amended

Complaint.

       54.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 54 of the Amended Complaint and therefore denies the

allegations.

       55.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 55 of the Amended Complaint and therefore denies the

allegations.

       56.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 56 of the Amended Complaint and therefore denies the

allegations.

                                      Page 9 of 14
       Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 10 of 14



       57.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 57 of the Amended Complaint and therefore denies the

allegations.

       58.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 58 of the Amended Complaint and therefore denies the

allegations.

       59.     Defendant lacks sufficient information or knowledge to admit or deny the

allegations in paragraph 59 of the Amended Complaint and therefore denies the

allegations.

                                         COUNT I
                       Violation of Civil Rights – 42 U.S.C. § 1983
                                    First Amendment

       60.     Defendant incorporates by reference the allegations made in the preceding

paragraphs as if they were fully set forth herein.

       61.     The allegations in paragraph 61 of the Amended Complaint do not require

a response by Defendant. To the extent the allegations do require a response, Defendant

denies the allegations in paragraph 61 of the Amended Complaint.

       62.     The allegations in paragraph 62 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 62 of the Amended Complaint are denied.

       63.     Defendant denies the allegations in paragraph 63 of the Amended

Complaint.




                                       Page 10 of 14
       Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 11 of 14



       64.    Defendant denies the allegations in paragraph 64 of the Amended

Complaint.

       65.    Defendant denies the allegations in paragraph 65 of the Amended

Complaint.

       66.    Defendant denies the allegations in paragraph 66 of the Amended

Complaint.

       67.    Defendant denies the allegations in paragraph 67 of the Amended

Complaint.

                                        COUNT II
                       Violation of Civil Rights – 42 U.S.C. § 1983
                       Fourteenth Amendment Due Process Clause

       68.    Defendant incorporates by reference the allegations made in the preceding

paragraphs as if they were fully set forth herein.

       69.    The allegations in paragraph 69 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 69 of the Amended Complaint are denied.

       70.    The allegations in paragraph 70 of the Amended Complaint are conclusions

of law to which no response is required. To the extent a response is required, the

allegations in paragraph 70 of the Amended Complaint are denied.

       71.    Defendant denies the allegations in paragraph 71 of the Amended

Complaint.

       72.    Defendant denies the allegations in paragraph 72 of the Amended

Complaint.

                                       Page 11 of 14
        Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 12 of 14



       73.    Defendant denies the allegations in paragraph 73 of the Amended

Complaint.

       74.    Defendant denies the allegations in paragraph 74 of the Amended

Complaint.

                                    PRAYER FOR RELIEF

       75.    Defendant denies that Plaintiff or any other individual or entity is entitled

to the relief requested in the unnumbered “Wherefore” paragraph, including

subparagraphs (a) through (e), or any relief whatsoever.

       76.    Defendant denies each and every material allegation not specifically

admitted in this Answer.

                           AFFIRMATIVE AND OTHER DEFENSES

       77.    Pleading affirmatively, Defendant asserts that, at all times, Plaintiff’s rights

were not violated or improperly infringed.

       78.    Ark. Code Ann. § 2-1-305 is constitutional on its face and as applied to

Plaintiff.

       79.    Defendant raises and reserves defenses pursuant to Rule 12(b) of the Federal

Rules of Civil Procedure, including but not limited to:

                  a. Lack of jurisdiction over the subject matter;

                  b. Lack of personal jurisdiction over the person;

                  c. Insufficiency of service of process;

                  d. Insufficiency of process;

                  e. Failure to join a party under Fed. R. Civ. P. 19; and


                                        Page 12 of 14
       Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 13 of 14



                 f.   Failure to state facts upon which relief can be granted.

       80.    Plaintiff’s claims are barred, in whole or in part, by accord and satisfaction,

arbitration and award, assumption of risk, contributory negligence, duress, estoppel,

failure of consideration, fraud, illegality, injury by fellow servant, laches, license,

payment, release, res judicata, statute of frauds, statute of limitations, and waiver.

       81.    Plaintiff’s claims are also barred, in whole or in part, by lack of standing.

       82.    Defendant is entitled to all applicable immunities, including, but not

limited to, sovereign immunity, statutory immunity, absolute immunity, and qualified

immunity.

       83.    Defendant asserts Plaintiff fails to present a justiciable controversy.

       84.    Defendant asserts Plaintiff does not meet the equitable requirements for

injunctive relief and any such relief would be improper.

       85.    Defendant asserts Plaintiff does not meet the requirements for declaratory

relief and any such relief would be improper.

       86.    Defendant reserves the right to assert additional defenses, to the extent such

defenses are applicable, as discovery continues.

       87.    Defendant reserves the right to amend this Answer and plead further

herein pending appropriate investigation and discovery.

       WHEREFORE, PREMISES CONSIDERED, Defendant Nikhil Soman, in his official

capacity as Director of the Arkansas Bureau of Standards, prays that the Plaintiff take

nothing on its Amended Complaint, the same be dismissed with prejudice, and for all

other relief to which he may lawfully be entitled.

                                       Page 13 of 14
Case 4:19-cv-00514-KGB Document 32 Filed 04/16/20 Page 14 of 14



                            Respectfully submitted,

                            LESLIE RUTLEDGE
                            Attorney General

                            Jerry Garner
                            Ark. Bar No. 2014134
                            Assistant Attorney General
                            Arkansas Attorney General's Office
                            323 Center Street, Suite 200
                            Little Rock, Arkansas 72201
                            Tel.: (501) 682-1723
                            Fax: (501) 682-2591
                            Email: jerry.garner@arkansasag.gov

                            Attorneys for Defendant




                         Page 14 of 14
